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                            IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLORADO
                                 Magistrate Judge Boyd N. Boland

   Civil Action No. 05-cv-00377-WDM-BNB

   MOISES CARRANZA-REYES,

   Plaintiff,

   v.

   THE PARK COUNTY BOARD OF COUNTY COMMISSIONERS,
   FRED WEGENER, individually and in his capacity as Sheriff of Park County, Colorado,
   MONTE GORE, individually and in his capacity as Captain of Park County Sheriff’s Department,
   and
   VICKIE PAULSEN, individually and in her official capacity as Registered Nurse for Park
   County, Colorado,

   Defendants.
   ______________________________________________________________________________

                                      ORDER
   ______________________________________________________________________________

           The parties appeared this morning for a final pretrial conference. During the conference,

   defendants expressed surprise that the plaintiff is asserting claims for violations of equal

   protection and due process of law. They indicated an intention to seek limited additional

   discovery addressed to those issues and to request leave to file supplemental motions for summary

   judgment.

           IT IS ORDERED that any motion to reopen discovery and to permit supplemental

   briefing on summary judgment in view of the misunderstanding about the equal protection and

   due process claims shall be filed, if at all, on or before March 23, 2007.
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         Dated March 13, 2007.

                                           BY THE COURT:

                                           s/ Boyd N. Boland
                                           United States Magistrate Judge




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